          Case 1:20-cv-10740-FDS Document 27 Filed 03/30/21 Page 1 of 3




                        IN THE UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


 STEPHEN GIANNAROS,

                        Plaintiff,                         Case No. 1:20-cv-10740-FDS

        v.

 THE BEAUFORT BONNET COMPANY, LLC,

                        Defendant.


             STIPULATION AND ORDER OF DISMISSAL WITH PREJUDICE

       The parties to this action, acting through counsel, and pursuant to Federal Rule of Civil

Procedure 41(a)(1)(A)(ii) stipulate, in consideration of a negotiated settlement executed by them,

to the Dismissal With Prejudice of this action, with each party to bear his or its own attorneys’ fees

and costs.

       Dated: March 30, 2021                   Respectfully Submitted,

                                               /s/ Jason M. Leviton
                                               Jason M. Leviton (BBO# 678331)
                                               BLOCK & LEVITON LLP
                                               260 Franklin Street, Suite 1860
                                               Boston, MA 02110
                                               Phone: (617) 398-5600
                                               jason@blockleviton.com

                                               Kevin W. Tucker (He/Him/His)
                                               Pa. No. 312144
                                               Kevin J. Abramowicz
                                               Pa. No. 320659
                                               EAST END TRIAL GROUP LLC
                                               186 42nd St., P.O. Box 40127
                                               Pittsburgh, PA 15201
                                               Tel. (412) 877-5220
                                               ktucker@eastendtrialgroup.com
                                               kabramowicz@eastendtrialgroup.com

                                               Counsel for Plaintiff

                                                  1
  Case 1:20-cv-10740-FDS Document 27 Filed 03/30/21 Page 2 of 3




                                     /s/ Howard E. Stempler
                                     Howard E. Stempler
                                     Seder & Chandler LLP
                                     339 Main Street
                                     Worchester, MA 01608-1585
                                     Direct: (508) 775-7721
                                     Fax: (508) 798-1863

                                     Gregory F. Hurley, (Ca. ID No. 126791)
                                     Pro Hac Vice Pending
                                     Michael J. Chilleen, (Ca. ID No. 210704)
                                     Pro Hac Vice Pending
                                     Sheppard Mullin Richter & Hampton LLP
                                     650 Town Center Drive, 10th Floor
                                     Costa Mesa, California 92626-1993
                                     Main: (714) 513-5100
                                     ghurley@sheppardmullin.com
                                     mchilleen@sheppardmullin.com

                                     Counsel for Defendant


                                    ORDER

The stipulation is approved. The action is hereby dismissed with prejudice.



                                    ____________________________________
                                    F. Dennis Saylor, IV
                                    Chief Judge
                                    United States District Court




                                        2
         Case 1:20-cv-10740-FDS Document 27 Filed 03/30/21 Page 3 of 3




                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was filed through

the ECF system on this date, and that a true copy of this document will be sent to those indicated

as non-registered participants on the Notice of Electronic Filing, if any, by on the same date.

                                              Respectfully Submitted,

 Dated: March 30, 2021                               /s/ Jason M. Leviton
                                                     Jason M. Leviton




                                                 3
